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                                          1   CHRISTOPHER R. ORAM, ESQ
                                              Nevada Bar No. 004349
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                                              Las Vegas, Nevada 89101
                                          3   (702) 384-5563
                                              E-Mail: contact@christopheroramlaw.com
                                          4   Attorney for Defendant
                                              EVERLY JAMES
                                          5                              UNITED STATES DISTRICT COURT
                                                                               DISTRICT OF NEVADA
                                          6                                          *****
                                          7    UNITED STATES OF AMERICA,                       CASE NO. 2:17-cr-00180-JAD-PAL
                                                         Plaintiff,
                                          8
                                               vs.
                                          9                                                    STIPULATION TO CONTINUE
                                               EVERLY JAMES                                    OBJECTIONS TO THE REPORT AND
                                         10                                                    RECOMMENDATION DENYING THE
                                                          Defendant.                           MOTION TO DISMISS INDICTMENT
                                         11                                                    (ECF No. 335)(First Request)
520 SOUTH 4TH STREET | SECOND FLOOR




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 TEL. 702.384-5563 | FAX. 702.974-0623




                                                     IT IS HEREBY STIPULATED AND AGREED, by and between the United States of
    CHRISTOPHER R. ORAM, LTD.

       LAS VEGAS, NEVADA 89101




                                         13   America, by and through Tony Lopez, Assistant United States Attorney, and Everly James, by
                                         14   and through his attorney, Christopher R. Oram, that the Objections to the Report and
                                         15   Recommendations Denying the Motion to Dismiss (ECF No. 335), currently due by Friday, May
                                         16   18, 2018, be continued for two (2) weeks, until Friday June 1, 2018, for the following reasons:
                                         17          1. Plea negotiations are continuing in the instant case and the parties desire to attempt to
                                         18   resolve the case prior to any objections being filed. Counsel for the Government recently
                                         19   appeared on this case and requires additional time to prepare an offer in the case.
                                         20
                                                     2. The defendant is in custody and does not object to this stipulation.
                                         21
                                                     3. Denial of this request could result in a miscarriage of justice
                                         22
                                                     4. This is the first request to continue the Objections to the Report and Recommendation
                                         23
                                              denying the Motion to Dismiss.
                                         24
                                         25          /s/ Tony Lopez    05/17/2018                   /s/ Christopher R. Oram         05/17/2018
                                         26          TONY LOPEZ DATE                                CHRISTOPHER R. ORAM               DATE
                                                     Assistant United States Attorney               Counsel for Defendant E. James
                                         27
                                         28                                                    1
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                                          1
                                                     Based upon the pending Stipulation of the parties, and good cause appearing therefore,
                                          2
                                              the Court finds that:
                                          3
                                                     1. Plea negotiations are continuing in the instant case and the parties desire to attempt to
                                          4
                                              resolve the case prior to any objections being filed. Counsel for the Government recently
                                          5
                                              appeared on this case and requires additional time to prepare an offer in the case.
                                          6
                                                     2. The defendant is in custody and does not object to this stipulation.
                                          7
                                          8          3. Denial of this request could result in a miscarriage of justice

                                          9          4. This is the first request to continue the Objections to the Report and Recommendation

                                         10   denying the Motion to Dismiss.

                                         11              For all of the above-stated reasons, the end of justice would best be served by a two
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                                              week continuance of the deadline for the Defendant to file Objections to the Report and
    CHRISTOPHER R. ORAM, LTD.

       LAS VEGAS, NEVADA 89101




                                         13   Recommendations Denying the Motion to Dismiss.
                                         14
                                         15
                                                                                               ORDER
                                         16
                                                       IT IS ORDERED that the Defendant’s deadline to object to the Report and
                                         17
                                              Recommendation Denying the Motion to Dismiss currently scheduled for May 18, 2018, be
                                         18
                                              vacated and continued to __________________,
                                                                       June 1, 2018.       2018.
                                         19
                                                            this ____
                                                                   Proday
                                                     DATED 5/22/2018
                                                    DATED:  Nunc          of _______________,
                                                                       Tunc  5/18/2018.       2018.
                                         20
                                                    Nunc Pro Tunc: 5/18/2018
                                         21
                                         22                                                         __________________________________
                                                                                                     Jennifer
                                                                                                    THE       A. Dorsey PEGGY A. LEEN
                                                                                                         HONORABLE
                                         23                                                          U.S. District Judge
                                                                                                    United States Magistrate Judge
                                         24
                                         25
                                         26
                                         27
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